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                                                                   May 2, 2024
  VIA ECF
  The Honorable Pamela K. Chen
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East, Chambers N 631
  Brooklyn, NY 11201

                Re:    SEC v. Richard Xia, et al., 21-cv-5350 (E.D.N.Y.)

  Dear Judge Chen:

          Plaintiff Securities and Exchange Commission, in response to the motion by Intervenor
  CTBC Bank Corp. (USA) (“CTBC”) to modify the asset freeze and appoint a receiver (ECF No.
  405), respectfully takes no position on CTBC’s motion.

                                                    Respectfully submitted,
                                                    /s/ David Stoelting .
                                                    Christopher M. Colorado
                                                    David Stoelting
                                                    Kim Han
                                                    Securities and Exchange Commission.
                                                    Attorneys for Plaintiff
